Ftll   1n   thts mformation to identify the case:

Debtor name            Beamreach Solar, Inc.
                              {'~    .
United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

Case number (if known)              17-50307
                                                                                                                                 •    Check if this is an
                                                                                                                                      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING --Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                   Declaration and signature


            I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
            individual serving as a representative of the debtor in this case.

            I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

            0       Schedule AlB: Assets-Rea/ and Personal Property (Official Form 206AIB)
            0       Schedule 0: Creditors Who Have Claims Secured by Property (Official Form 206D)
            0       Schedule ElF: Creditors Who Have Unsecured Claims (Official Form 206E/F)
            0       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
            0       Schedule H: Codebtors (Official Form 206H)
            0       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
             •      Amended Schedule           A/B, E/F, Summary
             0      Chapter 11 or Chapter9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
             0      Other document that requires a declaration

            I declare under penalty of perjury that the foregoing is true and co

            Executed on                                                 X
                                                                            Signature of individual signing on behalf of de

                                                                            Marinus Jacobus Adrian us Kerstens
                                                                            Printed name

                                                                            Chief Executive Officer
                                                                            Position or relationship to debtor




Official Form 202                                            Declaration Under Penalty of Perjury for Non-Individual Debtors
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             Case: 17-50307                    I
                                           Doc# 21
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                                                                Filed: 03/27/17
                                                                    I
                                                                                     -----            ::::;:::
                                                                                                   Entered: 03/27/17 16:50:36          Page 1 of 37
 Fill in this information to identify the case:

 Debtor name            Beamreach Solar, Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)               17-50307
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        3,974,219.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        8,509,888.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       12,484,107.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       43,056,705.75


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           550,000.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        4,798,933.53


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         48,405,639.28




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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           Case: 17-50307                             Doc# 21                  Filed: 03/27/17                         Entered: 03/27/17 16:50:36                                  Page 2 of 37
 Fill in this information to identify the case:

 Debtor name          Beamreach Solar, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)         17-50307
                                                                                                                                       Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     Opus Bank                                              Operating                        1075                                         $34.00




            3.2.     Wells Fargo Bank                                       Operating                        8949                                    $14,461.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                     $14,495.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?                  AMENDED

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit
                     Wells Fargo Bank Letter of Credit, as amended, in favor of 1504-1530 McCarthy
            7.1.     Boulevard-Milpitas LLC as environmental harzard clean-up deposit                                                              $550,000.00



                     Wells Fargo Bank Letter of Credit in favor of Navigators Management Company as
            7.2.     security for freight forwarding, customs fees, etc.                                                                             $50,000.00
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                page 1
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 Debtor            Beamreach Solar, Inc.                                                          Case number (If known) 17-50307
                   Name




 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


            8.1.     Essex Capital Fund II - security deposit - leased equipment                                                              $100,000.00




            8.2.     Essex Capital Corp. - security deposit - leased equipment                                                                $100,000.00




            8.3.     Prepaid insurance                                                                                                        $112,296.00




 9.         Total of Part 2.                                                                                                              $912,296.00
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                           266,909.00   -                                   0.00 = ....                  $266,909.00
                                              face amount                           doubtful or uncollectible accounts




 12.        Total of Part 3.                                                                                                              $266,909.00
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:           Investments
13. Does the debtor own any investments?

       No.   Go to Part 5.
       Yes Fill in the information below.

 Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

       No. Go to Part 6.
       Yes Fill in the information below.
            General description                       Date of the last           Net book value of         Valuation method used     Current value of
                                                      physical inventory         debtor's interest         for current value         debtor's interest
                                                                                 (Where available)

 19.        Raw materials
            Raw materials                             01/23/17                          $152,273.00        Purchase price                     $152,273.00



 20.        Work in progress


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 2
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 Debtor         Beamreach Solar, Inc.                                                            Case number (If known) 17-50307
                Name

           Finished goods                             01/23/17                          $964,456.00     Standard cost                       $964,456.00



 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                           $1,116,729.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                                         Valuation method                       Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                   Net book value of      Valuation method used      Current value of
                                                                                 debtor's interest      for current value          debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           Office furniture and fixtures                                                 $52,892.00                                          $52,892.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Office equipment                                                             $418,313.00                                         $418,313.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                $471,205.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
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 Debtor         Beamreach Solar, Inc.                                                          Case number (If known) 17-50307
                Name



 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                 Net book value of      Valuation method used       Current value of
           Include year, make, model, and identification numbers               debtor's interest      for current value           debtor's interest
           (i.e., VIN, HIN, or N-number)                                       (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Lab & manufacturing equipment                                            $5,728,254.00     GAAP                               $5,728,254.00



 51.       Total of Part 8.                                                                                                          $5,728,254.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?                  AMENDED

     No. Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and           Net book value of      Valuation method used      Current value of
           property                                       extent of            debtor's interest      for current value          debtor's interest
           Include street address or other                debtor's interest    (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 1530-1532 McCarthy
                     Blvd., Milpitas, CA                  Leasehold
                     95035                                improvements              $3,974,219.00     GAAP                               $3,974,219.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 4
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 Debtor         Beamreach Solar, Inc.                                                         Case number (If known) 17-50307
                Name

            55.2.
                     1504 McCarthy Blvd.,
                     Milpitas, CA 95035                   Lessee                            $0.00                                                  $0.00




 56.        Total of Part 9.                                                                                                         $3,974,219.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of        Valuation method used     Current value of
                                                                              debtor's interest        for current value         debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            The Debtor has nearly 400 patents issued or
            pending worldwide encompassing integrated
            solar panel and racking products,
            back-contact solar PV cells, and other
            enabling technologies.                                                     Unknown                                               Unknown



 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                   $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 5
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 Debtor         Beamreach Solar, Inc.                                                        Case number (If known) 17-50307
                Name

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                             page 6
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 Debtor          Beamreach Solar, Inc.                                                                               Case number (If known) 17-50307
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $14,495.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $912,296.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $266,909.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                           $1,116,729.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $471,205.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $5,728,254.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $3,974,219.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $8,509,888.00            + 91b.            $3,974,219.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $12,484,107.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 7
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            Case: 17-50307                      Doc# 21               Filed: 03/27/17                    Entered: 03/27/17 16:50:36                     Page 9 of 37
 Fill in this information to identify the case:

 Debtor name         Beamreach Solar, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)          17-50307
                                                                                                                                                            Check if this is an
                                                                                                                                                             amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                            12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim            Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                $550,000.00           Unknown
           Santa Clara County Tax Collector                          Check all that apply.
           70 West Hedding Street                                     Contingent
           San Jose, CA 95110-1767                                    Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Tax
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $65,411.16
           2XL                                                                      Contingent
           212 Railroad Ave.                                                        Unliquidated
           Milpitas, CA 95035                                                       Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade Debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?      No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                     $2,475.69
           3M Purification, Inc.                                                    Contingent
           PO Box 844897                                                            Unliquidated
           Dallas, TX 75284                                                         Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade Debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?      No  Yes



Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                             page 1 of 28
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 Debtor       Beamreach Solar, Inc.                                                                   Case number (if known)            17-50307
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,299.50
          40 Hrs Staffing                                                     Contingent
          1669 Flanigan Dr.                                                   Unliquidated
          San Jose, CA 95121                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,605.98
          Ace Fire Equipment & Service Co., Inc.                              Contingent
          PO Box 1142                                                         Unliquidated
          Palo Alto, CA 94302                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $908.10
          ACE Jerneh Insurance Berhard                                        Contingent
          38 Jalan Sultan Ismail 50250                                        Unliquidated
          Juala Lumpur, Malaysia aysia                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,000.00
          ACME Roofing Services Inc                                           Contingent
          572 Rosewood Ct.                                                    Unliquidated
          Los Banos, CA 93635                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $98,337.93
          Advanced Chemical Transport                                         Contingent
          1210 Elko Dr.                                                       Unliquidated
          Sunnyvale, CA 94089                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $34,208.92
          AERONET                                                             Contingent
          PO BOX 17239                                                        Unliquidated
          Irvine, CA 92623                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $64,637.87
          Aggreko                                                             Contingent
          P.O Box 972562                                                      Unliquidated
          Dallas, TX 75397                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 2 of 28
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 Debtor       Beamreach Solar, Inc.                                                                   Case number (if known)            17-50307
              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $924.11
          Air Liquide America Specialty Gases                                 Contingent
          Box 301046                                                          Unliquidated
          Dallas, TX 75303                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $126,963.97
          Air Products & Chemicals, Inc.                                      Contingent
          BOX 935430                                                          Unliquidated
          Atlanta, GA 31193-5430                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $264.25
          Airgas NCN                                                          Contingent
          PO Box 7423                                                         Unliquidated
          Pasadena, CA 91109                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,055.00
          Alliance Occupational Medicine                                      Contingent
          2737 Walsh Ave.                                                     Unliquidated
          Santa Clara, CA 95051                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,993.00
          Almaden                                                             Contingent
          639 Qinglong East Road Tianning                                     Unliquidated
          Changzhou, PRC                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $380.63
          American Precision Dicing Inc.                                      Contingent
          642 Giguere Ct.                                                     Unliquidated
          San Jose, CA 95133                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,200.00
          Arnecke Sibeth                                                      Contingent
          Am Brauhaus 1                                                       Unliquidated
          Dresden, Germany 01099-0000                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $450.69
          AT&T                                                                Contingent
          PO Box 5019                                                         Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $37,926.05
          Atlas Weathering Services Group                                     Contingent
          45601 North 47th Ave.                                               Unliquidated
          Phoenix, AZ 85087                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $991.00
          Bay Area Builders, Inc.                                             Contingent
          3360 De La Cruz Blvd.                                               Unliquidated
          Santa Clara, CA 95054                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,257.55
          Bay Area Circuits, Inc.                                             Contingent
          44358 Old Warm Springs Boulevard                                    Unliquidated
          Fremont, CA 94538                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,150.00
          Beaver & Associates                                                 Contingent
          1303 S. Gibson Ct.                                                  Unliquidated
          Superior, CO 80027                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $100.00
          Beck's Shoes, Inc.                                                  Contingent
          Attn: Accounts Receivable 354 E. McGlinc                            Unliquidated
          Campbell, CA 95008                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,861.19
          Big Joe California North, Inc.                                      Contingent
          25932 Eden Landing Rd                                               Unliquidated
          Hayward, CA 94545                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $761.40
          Bittele Electronics Inc.                                            Contingent
          250 Consumers Road, Suite 400                                       Unliquidated
          N. York, Ontario, Canada M2J4V6                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,400.00
          Black & Veatch Management Consulting, LL                            Contingent
          11401 Lamar Ave Overland                                            Unliquidated
          Park, KS 66211                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $119,595.75
          Bressler Group                                                      Contingent
          1216 Arch Street Floor 7                                            Unliquidated
          Philadelphia, PA 19107                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,885.04
          Brookwood RB Investors, LLC                                         Contingent
          PO Box 844294                                                       Unliquidated
          Los Angeles, CA 90084                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,300.00
          BTG Labs                                                            Contingent
          5129 Kieley Place                                                   Unliquidated
          Cincinnati, OH 45217                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,875.00
          Buhler Inc.                                                         Contingent
          28064 Network Place                                                 Unliquidated
          Chicago, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $175.00
          Business Telephone eXchange, Inc.                                   Contingent
          929 Berryessa Rd. #10                                               Unliquidated
          San Jose, CA 95133                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $628.06
          California Vacuum System                                            Contingent
          18675 Adams Court Suite L.                                          Unliquidated
          Morgan Hill, CA 95037                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $375.00
          CALSEIA                                                             Contingent
          1107 9th. St. Ste. 820                                              Unliquidated
          Sacramento, CA 95814                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,078.13
          Chemical Safety Technology, Inc                                     Contingent
          2461 Automnvale Dr.                                                 Unliquidated
          San Jose, CA 95131                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $825.00
          ChemTrace (Metron/Applied Materials)                                Contingent
          1900 AM Drive, Ste 200                                              Unliquidated
          Quakertown, PA 18951                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $496.78
          Cintas                                                              Contingent
          Corporation PO BOX 631025                                           Unliquidated
          Cinicinnati, OH 45263                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $38,892.92
          City of Milpitas (utility)                                          Contingent
          PO Box 7006                                                         Unliquidated
          San Francisco, CA 94120                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,723.01
          CivicSolar                                                          Contingent
          582 Market St. Suite 1300                                           Unliquidated
          San Francisco, CA 94104                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,155.70
          Clean Tech (Centrotherm), Inc. S&U                                  Contingent
          5830 Copper Leaf Lane.                                              Unliquidated
          Naples, FL 34116                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,539.20
          Cleanpart SET, Inc.                                                 Contingent
          631 International Parkway Suite 200                                 Unliquidated
          Richardson, TX 75081                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $88.09
          Coherent Inc                                                        Contingent
          Bank of America Lockbox Services File 57                            Unliquidated
          Los Angeles, CA 90074                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,000.00
          CPP, Inc.                                                           Contingent
          2400 Midpoint Dr. Unit 190                                          Unliquidated
          Fort Collins, CO 80525                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,380.00
          Criterion Labs, Inc                                                 Contingent
          P.O Box 700190                                                      Unliquidated
          San Jose, CA 95170                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $377.08
          DataSafe                                                            Contingent
          P.O. Box 7794                                                       Unliquidated
          San Francisco, CA 94120                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,300.00
          Dewey Pest Control                                                  Contingent
          781 Mabury Rd                                                       Unliquidated
          San Jose, CA 95133                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $104.00
          DHL Express - USA                                                   Contingent
          16592 Collections Center Drive                                      Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $210.00
          Diamond Fence Company, Inc.                                         Contingent
          15466 Los Gatos Blvd. #109-147                                      Unliquidated
          Los Gatos, CA 95032                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $115,800.00
          DIODES Incorporated                                                 Contingent
          4949 Hedgcoxe Rd. Suite 100                                         Unliquidated
          Plano, TX 75024                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,500.00
          DNV GL PVEL, LLC                                                    Contingent
          67 South Bedford St. Suite 201E                                     Unliquidated
          Burlington, MA 01803                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,055.00
          Dysert Environmental, Inc.                                          Contingent
          P.O Box 5608                                                        Unliquidated
          San Mateo, CA 94402                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,240.00
          EAG Inc.                                                            Contingent
          PO Box 203544                                                       Unliquidated
          Dallas, TX 75320                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $116,647.04
          Eastwick Communications                                             Contingent
          211 Sutter St. Floor 3                                              Unliquidated
          San Francisco, CA 94108                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,330.24
          EMCE                                                                Contingent
          's Gravendamseweg 53                                                Unliquidated
          Voorhout, The Netherlands 2215TC                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,460.38
          Evoqua Water Technologies                                           Contingent
          28563 Network Place                                                 Unliquidated
          Chicago, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,415.00
          Expo Partner                                                        Contingent
          VESTERVANGSVEJ 8                                                    Unliquidated
          Viborg, Denmark 08800-0000                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $17.66
          FedEx Express                                                       Contingent
          PO Box 7221                                                         Unliquidated
          Pasadena, CA 91109                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $399.04
          FEI Company                                                         Contingent
          9066 Paysphere Circle                                               Unliquidated
          Chicago, IL 60674                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $798,456.36
          Fenwick & West LLP                                                  Contingent
          Silicon Valley Center                                               Unliquidated
          801 California Street                                               Disputed
          Mountain View, CA 94041
                                                                             Basis for the claim:    Legal Services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $930.00
          Fidelity Roof, Inc.                                                 Contingent
          1074 40th Street                                                    Unliquidated
          Oakland, CA 94608                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Beamreach Solar, Inc.                                                                   Case number (if known)            17-50307
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 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,817.41
          First Choice Services                                               Contingent
          3130 Alfred St.                                                     Unliquidated
          Santa Clara, CA 95054                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,975.11
          Flagship Facility Services, Inc.                                    Contingent
          P.O. Box 49019                                                      Unliquidated
          San Jose, CA 95161                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,815.00
          FORELL/ELSESSER ENGINEERS, INC                                      Contingent
          160 Pine St                                                         Unliquidated
          San Francisco, CA 94111                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $72,000.00
          Fortix                                                              Contingent
          548-196 Gajwa-don                                                   Unliquidated
          Seo-gu Incheon, Korea                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,943.99
          FR Kelly                                                            Contingent
          27 Clyde Road,                                                      Unliquidated
          Dublin 4, Ireland D04 F838                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,640.00
          Friedmann & Kirchner GbmH                                           Contingent
          Grobe Ahlmuhle 7 D-7686                                             Unliquidated
          Rohrbach, Germany                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,147.50
          George R. Tuttle                                                    Contingent
          100 Larkspur Landing Circle, Suite 385                              Unliquidated
          Larkspur, CA 94939                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Beamreach Solar, Inc.                                                                   Case number (if known)            17-50307
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 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,888.50
          Global Industrial                                                   Contingent
          29833 Network Place                                                 Unliquidated
          Chicago, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,201.02
          GoEngineer, Inc.                                                    Contingent
          1787 E. Fort Union Blvd #200                                        Unliquidated
          Cottonwood Heights, UT 84121                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,185.00
          Graco Ohio Inc.                                                     Contingent
          8400 Port Jackson Ave. NW North                                     Unliquidated
          Canton, OH 44720                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $437.14
          Grainger                                                            Contingent
          Dept 873978142                                                      Unliquidated
          Palatine, IL 60038                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $50.00
          GreenBiz group                                                      Contingent
          350 Frank H. Ogawa Plaza ste 800                                    Unliquidated
          Oakland, CA 94612                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,000.00
          Harrington Industrial Plastics                                      Contingent
          14480 Yorba Ave                                                     Unliquidated
          Chino, CA 91710                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,159.00
          Heigl Adhesives                                                     Contingent
          7667 Cahill Road Suite #100                                         Unliquidated
          Edina, MN 55439                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $898.75
          Hellmann Worlwide Logistics                                         Contingent
          C/O Deutsche Bank Trust PO Box 13361                                Unliquidated
          Newwark, NJ 71010                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $332.75
          Herrmann & Schmidt                                                  Contingent
          Lierstra e 27                                                       Unliquidated
          Munchen, Germany 80639-0000                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,190.00
          HPM Systems Inc.                                                    Contingent
          70 Saratoga Ave., Suite 200                                         Unliquidated
          Santa Clara, CA 95051                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,290.00
          IFI Institut fur Industrieaerodynamik Gm                            Contingent
          Institute at Aachen University of Applie                            Unliquidated
          Strabe 120 52074                                                    Disputed
          Aachen, Germany
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,175.00
          Inland Water, Inc                                                   Contingent
          P.O Box 2925                                                        Unliquidated
          Dublin, CA 94568                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,399.06
          InnoLas Solutions Gmbh                                              Contingent
          Pionierstrasse 6 8215                                               Unliquidated
          Krailling, Germany                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $950.00
          Interior Nature's Design                                            Contingent
          25108 Marguerite Pkway #336                                         Unliquidated
          Mission Viejo, CA 92692                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Beamreach Solar, Inc.                                                                   Case number (if known)            17-50307
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 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,595.12
          Intertrust                                                          Contingent
          87 Mary Street                                                      Unliquidated
          George Town Grand Cayman, Cayman                                    Disputed
          Islands
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,662.50
          ISSI                                                                Contingent
          142 Woodcrest Place                                                 Unliquidated
          Santa Cruz, CA 95065                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $683.00
          Jiaquan IP Law Firm
          910, Tower A Winner Plaza                                           Contingent
          No. 100 Huangpu Ave. W.Tianhe                                       Unliquidated
          Guangzhou, Guangdong                                                Disputed
          Republic of China
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $635.93
          JLL Property Services (Malaysia) Sdn Bhd                            Contingent
          Unit 7.2, Level 7, Menara 1 Sentrum, No                             Unliquidated
          Kuala Lumpur, Malaysia 50470-0000                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,343.33
          John G. Klinestiver                                                 Contingent
          2253 Franklin St.                                                   Unliquidated
          San Francisco, CA 94109                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $33,550.00
          Jonas & Redmann                                                     Contingent
          Kaiserin - Augusta - Allee                                          Unliquidated
          Berlin, Germany                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,600.00
          Jonas & Redmann USA, Inc.                                           Contingent
          5035 NE Elam Young Pkwy Suite 100                                   Unliquidated
          Hillsboro, OR 97124                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,370.50
          JRT Photovoltaics GmbH & Co. KG                                     Contingent
          Riegeler Stra e 4, 79364                                            Unliquidated
          Malterdingen, Germany                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $821.07
          K-Tech Manufacturing & Machining                                    Contingent
          3260 Keller St#5                                                    Unliquidated
          Santa Clara, CA 95054                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,090.00
          Kepware Technologies                                                Contingent
          PO Box 579                                                          Unliquidated
          Portland, ME 04112                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,066.59
          Krayden                                                             Contingent
          1491 West 124th Avenue                                              Unliquidated
          Denver, CO 80234                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,645.46
          Kuhne + Nagel Inc.                                                  Contingent
          10 Exchange Place Floor 19                                          Unliquidated
          Jersey City, NJ 07302                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,096.94
          Kurdex Corp                                                         Contingent
          343 Gibraltar Dr.                                                   Unliquidated
          Sunnyvale, CA 94089                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $915.79
          Liberty Lighting and Fixture Supply                                 Contingent
          1800 De La cruz Boulevard                                           Unliquidated
          Santa Clara, CA 95050                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $85,602.92
          Linde Electronics & Speciality Gases                                Contingent
          88299 Expedite Way                                                  Unliquidated
          Chicago, IL 60695                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,000.00
          LPE S.p.a.                                                          Contingent
          8 20021 Bolla                                                       Unliquidated
          Milan, Italy                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $229.58
          Lund Pearson McLaughlin                                             Contingent
          897 Independence Ave. Suite 1E                                      Unliquidated
          Mountain View, CA 94043                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,850.95
          Mallory Safety and Supply LLC                                       Contingent                                                          CORRECTED TYPO IN AMOUNT
          PO Box 2068                                                         Unliquidated
          Longview, WA 98632                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $121.00
          Manitz & Finsterwald Partner                                        Contingent
          Postfach 31 02 20 D-80102                                           Unliquidated
          Munchen, Germany                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,000.00
          Matthias Gelber                                                     Contingent
          B-13-5 Megan Avenue II                                              Unliquidated
          No.12 Jalan Yap Kwan Seng                                           Disputed
          Kuala Lumpur, Malaysia 50450-0000
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $11,480.28
          MaxVac Inc.                                                         Contingent
          601-G North 1st. St.                                                Unliquidated
          Patterson, CA 95363                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,799.20
          MBT Systems Ltd                                                     Contingent
          23562 NW Clara Lane                                                 Unliquidated
          Hillsboro, OR 97124                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,560.00
          Mc Elligot Consulting                                               Contingent
          41547 Chadbourne Dr.                                                Unliquidated
          Fremont, CA 94539                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,338.84
          McMaster-Carr                                                       Contingent
          P.O. Box 7690                                                       Unliquidated
          Chicago, IL 60680                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,354.41
          MESSE MUNCHEN GMBH                                                  Contingent
          Messegel nde,                                                       Unliquidated
          Munchen, Germany 81823-0000                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,908.57
          Metalcraft, Inc.                                                    Contingent
          3360 9th Street S.W.                                                Unliquidated
          Mason City, IA 50401                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $684.00
          Mettler Toledo                                                      Contingent
          PO Box 100682                                                       Unliquidated
          Pasadena, CA 91189                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,692.50
          MindShift                                                           Contingent
          P.O Box 200105 P                                                    Unliquidated
          Pittsburg, PA 15251                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Beamreach Solar, Inc.                                                                   Case number (if known)            17-50307
              Name

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,282.12
          Minuteman Press of Mountain View                                    Contingent
          618 National Avenue                                                 Unliquidated
          Mountain View, CA 94043                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,389.36
          Minuteman Press of Santa Clara                                      Contingent
          2368 Walsh Av. Suite B                                              Unliquidated
          Santa Clara, CA 95051                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,196.25
          Moore Engineering                                                   Contingent
          15 Kimble Ave.                                                      Unliquidated
          Los Gatos, CA 95030                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,306.88
          Moss Adams LLP                                                      Contingent
          PO Box 748369                                                       Unliquidated
          Los Angeles, CA 90074                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $194.94
          Motech Industries Inc.                                              Contingent
          Science Park Branch No.2, Da-Shun 9th Rd                            Unliquidated
          Hsin-Shi, Tainan                                                    Disputed
          TAiwan 74175
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $978.75
          MSA Systems, Inc.                                                   Contingent
          1340 S De Anza Blvd. Suite 103                                      Unliquidated
          San Jose, CA 95129                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,750.00
          Nanolab Technologies, Inc.                                          Contingent
          1708 McCarthy, Blvd.                                                Unliquidated
          Milpitas, CA 95035                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Beamreach Solar, Inc.                                                                   Case number (if known)            17-50307
              Name

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $622,557.95
          Neo Solar Power Corp.                                               Contingent
          Hsinchu Science Park Hsinchu                                        Unliquidated
          Taiwan 300, PRC                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,216.55
          Noerr LLP                                                           Contingent
          Paul-Schwarze-Strabe 2 0109                                         Unliquidated
          Dresden, Germany                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $262,780.60
          Oak Creek Properties, LLC                                           Contingent
          18301 Von Karma                                                     Unliquidated
          Irvine, CA 92612                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,185.00
          OK Container Sales                                                  Contingent
          2707 E. Valley Blvd #305 ,                                          Unliquidated
          West Covina, CA 95035                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $535.16
          Omega Engineering Inc                                               Contingent
          26904 Network Place                                                 Unliquidated
          Chicago, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,601.90
          Onconference                                                        Contingent
          POBOX 33087                                                         Unliquidated
          Detroit, MI 48232                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,921.79
          Pacific Panels Inc.                                                 Contingent
          74 98th Ave                                                         Unliquidated
          Oakland, CA 94603                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Beamreach Solar, Inc.                                                                   Case number (if known)            17-50307
              Name

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,685.00
          Pal Sales CT S&U                                                    Contingent
          101 Main Street South                                               Unliquidated
          Bethlehem, CT 06751                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,154.20
          Park IP Translations                                                Contingent
          241 East 4th St. Suite 207                                          Unliquidated
          Frederick, MD 21701                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,874.00
          Patents Ink                                                         Contingent
          3635 Old Court Road, Suite 610                                      Unliquidated
          Baltimore, MD 21208                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $543,675.55
          PG&E                                                                Contingent
          PO BOX 997300                                                       Unliquidated
          Sacramento, CA 95899-7300                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $36,295.60
          Plasmatreat USA, Inc.                                               Contingent
          2541 Technology Drive Suite 407                                     Unliquidated
          Elgin, Il 60124                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,243.25
          Praxair Distribution, Inc.                                          Contingent
          195-Praxair Distribution, Inc. Dept LA 2                            Unliquidated
          Pasadena, CA 91185                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,000.00
          PricewaterhouseCoopers LLP                                          Contingent
          P.O. Box 514038                                                     Unliquidated
          Los Angeles, CA 90051                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Beamreach Solar, Inc.                                                                   Case number (if known)            17-50307
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 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,412.90
          Process Materials, Inc.                                             Contingent
          5625 Brisa Street Suite A                                           Unliquidated
          Livermore, CA 94550                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,193.58
          ProExhibits                                                         Contingent
          48571 Milmont Dr.                                                   Unliquidated
          Fremont, CA 94538                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $94.43
          Promoto Marketing                                                   Contingent
          300 Union Ave. #26                                                  Unliquidated
          Campbell, CA 95008                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,132.50
          ProTemp Mechanical, Inc.                                            Contingent
          3350 Scott Blvd. Bldg. 3                                            Unliquidated
          Santa Clara, CA 95054                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,687.40
          Prudential Cleanroom Services                                       Contingent
          PO Box 11210                                                        Unliquidated
          Santa Ana, CA 92711                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,200.00
          PV Measurements, Inc.                                               Contingent
          245 Mill Road Suite 145                                             Unliquidated
          Point Roberts, WA 98281                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $51.00
          Registered Agent Solutions, Inc.                                    Contingent
          1701 Directors Blvd. Suite 300                                      Unliquidated
          Austin, TX 78744                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Beamreach Solar, Inc.                                                                   Case number (if known)            17-50307
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 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $668.80
          RENA Technologies GmbH                                              Contingent
          H henweg 1                                                          Unliquidated
          G tenbach, Germany 78148-0000                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,145.00
          Renewable Energy & Cleantech Law Group                              Contingent
          39 Quail Court, Suite #306                                          Unliquidated
          Walnut Creek, CA 94596                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $766.29
          Republic Services #915                                              Contingent
          PO Box 78829                                                        Unliquidated
          Phoenix, AZ 85062                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $31,663.00
          RETC LLC                                                            Contingent
          46457 Landing Pkway                                                 Unliquidated
          Fremont, CA 94538                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,518.00
          Riv Inc. S&U                                                        Contingent
          PO Box Inc.                                                         Unliquidated
          Merrimack, NH 03054                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $88,396.27
          Robert Half                                                         Contingent
          P.O Box 743295                                                      Unliquidated
          Los Angeles, CA 90074                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,989.80
          Roofing Supply Group SJ                                             Contingent
          P.O BOX 740914                                                      Unliquidated
          Los Angeles, CA 90074                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,400.00
          Royal Adhesives & Sealants LLC                                      Contingent
          PO BOX 74745                                                        Unliquidated
          Cleveland, OH 44194                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $484.83
          San Jose Boiler Works                                               Contingent
          1585 Schallenberger Rd.                                             Unliquidated
          San Jose, CA 95131                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,698.00
          SAS Institute Inc.                                                  Contingent
          PO Box 406922                                                       Unliquidated
          Atlanta, GA 30384                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,083.60
          Schmid Thermal Systems, Inc                                         Contingent
          200 Westridge Dr.                                                   Unliquidated
          Watsonville, CA 95076                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $35.00
          Secretary of State                                                  Contingent
          PO Box 944230                                                       Unliquidated
          Sacramento, CA 94244                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,402.57
          Securitas Security Services, Inc.                                   Contingent
          2480 N. First Street                                                Unliquidated
          San Jose, CA 95131                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $699.50
          SGS Accutest, Inc.                                                  Contingent
          PO BOX 2506                                                         Unliquidated
          Carol Stream, IL 60132                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,899.24
          Shape Products                                                      Contingent
          1127 57th Avenue                                                    Unliquidated
          Oakland, CA 94621                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $480.00
          Sheahan Enterprise LLC                                              Contingent
          3949 Kite Meadow Dr.                                                Unliquidated
          Plano, TX 75074                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,775.00
          Sherman Electric                                                    Contingent
          1202 Kifer Road                                                     Unliquidated
          Sunnyvale, CA 94086                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $649.49
          Silicon Valley Lockmasters                                          Contingent
          1444 South Main Street                                              Unliquidated
          Milpitas, CA 95035                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $29,265.47
          SilPac                                                              Contingent
          1850 Russel Ave                                                     Unliquidated
          Santa Clara, CA 95054                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $856.16
          Singulus USA                                                        Contingent
          P.O Box 5046                                                        Unliquidated
          New Britain, CT 06050                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,050.00
          SolarPower International                                            Contingent
          1737 King Street suite 600A                                         Unliquidated
          Alexandria, VA 22314                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Beamreach Solar, Inc.                                                                   Case number (if known)            17-50307
              Name

 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $582.40
          Sun Chemical Corp. S&U                                              Contingent
          P.O. Box 2193                                                       Unliquidated
          Carol Stream, IL 60132                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $400.00
          SW Law Group                                                        Contingent
          3340 Walnut Ave. Suite 120                                          Unliquidated
          Fremont, CA 94538                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,450.00
          Techinsights Inc.                                                   Contingent
          3000 Solandt Road                                                   Unliquidated
          Ottawa, ON, Canada K2K 2X2                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,000.00
          Tengku Zambri Tengku Dato' Mahmood
          E102/103, Ground Kelama Parkview                                    Contingent
          No. 1, Jalan SS6/2 Kelama Jaya                                      Unliquidated
          47301 Petaling Jaya                                                 Disputed
          Selangor MY Malaysia
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $109,094.19
          Therma Corp.                                                        Contingent
          1601 Las Plumas Ave                                                 Unliquidated
          San Jose, CA 95133                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $721.11
          Toshiba Financial Service                                           Contingent
          PO BOX 51043                                                        Unliquidated
          Los Angeles, CA 95051                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $182,765.38
          TOYOPLAS HOLDINGS PTE LTD                                           Contingent
          20 Mactaggart Road #08-01                                           Unliquidated
          Khong Guan Industrial Building                                      Disputed
          Singapore, Singapore 00036-8079
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Beamreach Solar, Inc.                                                                   Case number (if known)            17-50307
              Name

 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $33,460.80
          Travelers                                                           Contingent
          PO BOX 660317                                                       Unliquidated
          Dallas, TX 75266                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,008.00
          Trumpf Huettinger, Inc.                                             Contingent
          111 Hyde Road                                                       Unliquidated
          Farmington, CT 06032                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,851.00
          UL LLC                                                              Contingent
          75 Remittance Drive Suite#1524                                      Unliquidated
          Chicago, IL 60675                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $80.52
          Ulbrich Specialty Wire Products                                     Contingent
          75 Remittance Dr. Dept. 3028                                        Unliquidated
          Chicago, IL 60675                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $260.23
          Uline                                                               Contingent
          PO BOX 88741                                                        Unliquidated
          CHICAGO, IL 60680                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,750.00
          ULTRAGLAS, Inc.                                                     Contingent
          9200 Gazette Avenue                                                 Unliquidated
          Chatsworth, CA 91311                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,650.00
          USCIS - Dept of Homeland Security                                   Contingent
          300 North Los Angeles St,                                           Unliquidated
          Los Angeles, CA 90012                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $353.44
          V-Tech Manufacturing                                                Contingent
          1140 W. Evelyn Avenue                                               Unliquidated
          Sunnyvale, CA 94086                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,023.00
          VERSUM MATERIALS                                                    Contingent
          7201 HAMILTON BLVD                                                  Unliquidated
          ALLENTOWN, PA 18195                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $91,737.50
          Via Mechanics (USA), Inc.                                           Contingent
          150C Charcot Ave.                                                   Unliquidated
          San Jose, CA 95131                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,064.30
          VWR International LLC                                               Contingent
          PO Box 640169                                                       Unliquidated
          Pittsburgh, PA 15264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $47,582.54
          W2 Systems                                                          Contingent
          106 Cresta Vista Drive                                              Unliquidated
          San Francisco, CA 94127                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,080.03
          Wafab International                                                 Contingent
          6161-A Industrial Way                                               Unliquidated
          Livermore, CA 94551                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,550.00
          Water System Cleaning                                               Contingent
          5344 Tilton Ct.                                                     Unliquidated
          Dublin, CA 94568                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.178     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $26,683.32
           West Valley Engineering                                            Contingent
           PO Box 49212                                                       Unliquidated
           San Jose, CA 95161                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.179     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $5,750.00
           Westpak, Inc.                                                      Contingent
           83 Great Oaks Blvd.                                                Unliquidated
           San Jose, CA 95119                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.180     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $630.00
           WRS Materials                                                      Contingent
           2240 Ringwood Ave.                                                 Unliquidated
           San Jose, CA 95112                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.181     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $348.00
           Xpedx, LLC                                                         Contingent
           PO Box 31001-1382                                                  Unliquidated
           Pasadena, CA 91110                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.182     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $32,113.47
           Xsys Engineering, Inc.                                             Contingent
           142 N. Milpitas Blvd. #273                                         Unliquidated
           Milpitas, CA 95035                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.183     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,359.00
           Yusen Logistics (Americas) Inc.                                    Contingent
           19001 Harborgate Way                                               Unliquidated
           Torrance, CA 90501                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.184     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,050.44
           Zoom Imaging Solutions                                             Contingent
           PO BOX 398147                                                      Unliquidated
           San Francisco, CA 94139                                            Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

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              Name


           Name and mailing address                                                              On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.1       Kimball, Tirey & St. John LLP
           Kenneth D. Schnur                                                                     Line      3.117
           2300 Clayton Road
           Suite 1300                                                                                  Not listed. Explain

           Concord, CA 94520


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                    Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.        $                    550,000.00
 5b. Total claims from Part 2                                                                        5b.    +   $                  4,798,933.53

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.        $                    5,348,933.53




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